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                                   10
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                                   12   GENERAL MEDIA SYSTEMS, LLC; and
1154 S. Crescent Heights Blvd.




                                        MIKE MILLER
                                   13
   Los Angeles, CA 90035
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                                                              UNITED STATES DISTRICT COURT
                                   14                        CENTRAL DISTRICT OF CALIFORNIA
                                   15                              WESTERN DIVISION
                                   16   MACKENZIE ANNE THOMA, a.k.a.               Case No. 2:23–cv–04901 WLH (AGRx)
                                        KENZIE ANNE, an individual and on
                                   17
                                        behalf of all others similarly situated,   DEFENDANTS’ NOTICE OF
                                   18                                              MOTION AND MOTION TO
                                                Plaintiff,                         BIFURCATE DISCOVERY;
                                   19
                                        v.                                         MEMORANDUM OF POINTS AND
                                   20                                              AUTHORITIES IN SUPPORT
                                        VXN GROUP LLC, a Delaware                  THEREOF
                                   21
                                        limited liability company; STRIKE 3
                                   22   HOLDINGS, LLC, a Delaware limited          Date:          May 17, 2024
                                        liability company; GENERAL MEDIA           Time:         1:30 pm or later
                                   23                                              Courtroom:    9B
                                        SYSTEMS, LLC, a Delaware limited
                                   24   liability company; MIKE MILLER, an
                                   25
                                        individual; and DOES 1 to 100,             Complaint Filed: April 20, 2023
                                        inclusive,                                 Removed:         June 21, 2023
                                   26

                                   27
                                                 Defendants.

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                                             DEFENDANTS’ NOTICE OF MOTION AND MOTION TO BIFURCATE DISCOVERY
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                                    1              NOTICE OF MOTION TO BIFURCATE DISCOVERY
                                    2         Pursuant to L.R. 7–4, Defendants VXN Group, LLC (“VXN”), Strike 3
                                    3   Holdings, LLC (“Strike 3”), General Media Systems, LLC (“General Media”), and
                                    4   Mike Miller (“Miller”) (collectively, “Defendants”) hereby file their Notice of
                                    5   Motion to Bifurcate (“Motion”), in support thereof state as follows:
                                    6         Defendants respectfully request that the Court order that: (1) the parties
                                    7   engage in Phase I discovery for 120 days limited solely to (i) Plaintiff’s alleged
                                    8   status as an employee, and (ii) the applicability of Wage Order 12’s professional
                                    9   actor exemptions; (2) the parties file their dispositive motions regarding Phase I
                                   10   issues within 60 days thereafter; and (3) all other discovery and actions in this case
                                   11   are stayed pending the Court’s decision on those dispositive motions.
                                   12         Defendants’ Motion is supported by the attached memorandum of points and
1154 S. Crescent Heights Blvd.




                                   13   authorities filed in support of this motion, on all the pleadings and papers in this
   Los Angeles, CA 90035
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                                   14   action, and on any oral argument entertained by the Court during the hearing on
                                   15   this matter.
                                   16
                                              Dated: April 5, 2024              Respectfully submitted,
                                   17

                                   18
                                                                                KANE LAW FIRM
                                   19
                                                                               By: /s/ Brad S. Kane
                                   20                                              Brad S. Kane
                                   21                                              Eric Clopper
                                                                                   Trey Brown
                                   22                                              Attorneys for Defendants
                                   23                                              VXN Group LLC; Strike 3
                                                                                   Holdings, LLC; General Media
                                   24                                              Systems, LLC; and Mike Miller
                                   25

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                                    1               MEMORANDUM OF POINTS AND AUTHORITIES
                                    2   I.     INTRODUCTION
                                    3          Pursuant to this Court’s March 6, 2024 Order, Defendants VXN Group, LLC
                                    4   (“VXN”), Strike 3 Holdings, LLC (“Strike 3”), General Media Systems, LLC
                                    5   (“General Media”), and Mike Miller (“Miller”) (collectively, “Defendants”) file
                                    6   this Motion to Bifurcate Discovery. [Dkt. 51] Defendants propose that Phase I
                                    7   discovery and early dispositive motions are limited to the threshold issues of
                                    8   whether: (i) Plaintiff was an employee, which is a requirement for her wage and
                                    9   hour claims; and (ii) even if Plaintiff was an employee, whether IWC Wage Order
                                   10   12 (“Wage Order 12”)’s professional actor exemptions bar the bulk of Plaintiff’s
                                   11   claims. [Dkt. 47 at 8:20-23]1
                                   12          Such phased discovery will conserve the resources of the Court and the
1154 S. Crescent Heights Blvd.




                                        parties, while preserving the privacy and safety of the adult performer putative class
   Los Angeles, CA 90035




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                                   14   members (and their families). In fact, this Court has expressed that any decision on
                                   15   whether Wage Order 12 precludes Plaintiff’s overtime, meal periods, rest periods,
                                   16   and wage statement requirements claims, should be based on facts, rather than the
                                   17   four corners of the operative complaint, even if the probable outcome is that Wage
                                   18   Order 12’s professional actor exemptions apply.2 [Ex. 13, at 9:4-13]
                                   19          Without bifurcation, Plaintiff will embark on “extensive” and resource
                                   20   intensive class discovery from Defendants that will prove unnecessary if
                                   21   Defendants’ early dispositive motions are successful. [Dkt. 34, at 15:22-23; 16:15-
                                   22   17].
                                   23

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                                        1
                                          Defendants’ Motion to Dismiss to Plaintiff’s Second Amended Complaint is still
                                   26
                                        in the process of being briefed.
                                   27
                                        2
                                          “Except as provided in Sections 1, 2, 4, 10, and 20, the provisions of this order
                                        shall not apply to professional actors.” Cal. Code Regs. tit. 8, § 11120.
                                   28   3
                                          All Exhibits are appended to the concurrently filed Declaration of Brad S. Kane.
                                                                          1
                                                DEFENDANTS’ NOTICE OF MOTION AND MOTION TO BIFURCATE
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                                    1         Equally important, since the putative class of adult film performers face a
                                    2   very real and concrete danger (for themselves and their families) if their true
                                    3   identities and contact information are disclosed, their privacy rights are entitled to
                                    4   heightened protection. Fortunately, bifurcation avoids prematurely jeopardizing
                                    5   third-party privacy and safety, unless Plaintiff prevails on the early dispositive
                                    6   motions.
                                    7         To make proceedings more manageable, federal courts have broad discretion
                                    8   to bifurcate discovery and order the early resolution of threshold issues to “secure
                                    9   the just, speedy and inexpensive determination of every action.” Fed. R. Civ. P. 1;
                                   10   see also Fed R. Civ. P. 26(d)(2) (recognizing the court’s power to order timing and
                                   11   sequence of discovery); Fed. R. Civ. P. 26(c)(1)(D) (court may enter an order
                                   12   “limiting the scope of disclosure or discovery to certain matters”); Fed. R. Civ. P.
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                                   13   42 (power to order separate trials). As a result, Defendants respectfully request the
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                                   14   Court enter an order that the parties have 120 days for discovery directed solely to
                                   15   Plaintiff’s threshold issues, followed by the filing of early dispositive motions
                                   16   within the following 60 days.
                                   17   II.   STATEMENT OF FACTS.
                                   18
                                              A.     Plaintiff Seeks To Impose “Extensive” Discovery And Motion
                                   19                Practice Costs To Leverage Settlement.
                                   20         On April 20, 2023, Plaintiff filed this putative class action alleging nine (9)
                                   21   Labor Code violations in the adult film industry and a derivative unfair competition
                                   22   claim. On June 21, 2023, Defendants removed this action to federal court.
                                   23         On July 11, 2023, Plaintiff filed a related state court action alleging that
                                   24   Defendants violated identical Labor Code provisions under the California Private
                                   25   Attorney General Act (“PAGA”). To conserve judicial resources, Defendants
                                   26   requested Plaintiff consolidate her identical claims in one case or stay the state
                                   27   court actions pending resolution of the Federal Class Action to: (i) conserve the
                                   28   Court and the parties’ scarce resources; and (ii) prevent conflicting and inconsistent
                                                                          2
                                                DEFENDANTS’ NOTICE OF MOTION AND MOTION TO BIFURCATE
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                                    1   rulings. Plaintiff refused to do so. Declaration of Brad S. Kane (“Kane Decl.”) at ¶
                                    2   3.
                                    3         On August 30, 2023, this Court (i) granted Defendants’ motion to dismiss,
                                    4   with leave to amend; and (ii) granted, in part, Plaintiff’s motion to remand,
                                    5   returning only her unfair competition claim to state court. [Dkt. 23] On September
                                    6   20, 2023, Plaintiff filed her First Amended Complaint (“FAC”) alleging eight (8)
                                    7   Labor Code violations,4 which Defendants moved to dismiss. [Dkt. 26, 33]
                                    8   Defendants asserted that Wage Order 12’s professional actor exemption barred
                                    9   most of Plaintiff’s claims. [Dkt. 33]
                                   10         On October 9 and 10, 2023, Plaintiff served 159 Special Interrogatories, 110
                                   11   Requests for Production, 86 Requests for Admission, and Form Interrogatories in
                                   12   the state court PAGA action. Plaintiff sought essentially every piece of paper
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                                        connected to the approximately 400 adult performers, who s acted in over 1,000
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                                   14   films, including the true names and contact information for the putative class
                                   15   members. See Kane Decl at ¶ 4.
                                   16         On October 30, 2023, this Court granted Defendants’ opposed motion for a
                                   17   two-week extension to file a response to the FAC “to accommodate an arbitration
                                   18   in a different matter and family issues.” [Dkt. 36 at 2:8-10,3:19-21] At the same
                                   19   time, the Court reminded the parties for a second time “to work together to avoid
                                   20   squandering . . . the Court’s resources.” [Dkt. 36 at 2:23-26]
                                   21         On December 14, 2023, Judge Carolyn Kuhl of Los Angeles County
                                   22   Superior Court (i) related Plaintiff’s PAGA and unfair competition actions; and (ii)
                                   23   stayed the related state court actions based on considerations of comity between
                                   24   state and federal courts, indicating that this Court’s factual determinations may
                                   25

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                                          Plaintiff removed her prior claim for violation of Labor Code § 227.3 for failure
                                   28
                                        to pay vested vacation.
                                                                          3
                                                DEFENDANTS’ NOTICE OF MOTION AND MOTION TO BIFURCATE
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                                     1   have preclusive effect on Plaintiff’s PAGA and unfair competition claims. [Kane
                                     2   Decl., at ¶ 6, Ex. 2]
                                     3         On January 5, 2024, the Court, at a hearing, reasoned that Plaintiff’s
                                     4   overtime, meal periods, rest periods, and wage statement requirement claims
                                     5   survived FRCP 12(b)(6) as a matter of law and whether Wage Order 12 exempted
                                     6   Plaintiff was a question of fact, even if that was the probable outcome:5
                                     7   [Ex. 1, at 9:4-13]
                                     8         B.     Defendants Propose Limiting Phase I Discovery To Threshold
                                     9                Issues And Early Dispositive Motions To Secure A Just, Speedy
                                                      And Inexpensive Determination.
                                    10

                                    11         On January 26, 2024, Plaintiff and Defendants filed a Joint Rule 26(f)
                                    12   Report. Defendants’ proposed that the Court should “limit phase I discovery and
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                                         motion practice to the issues of whether: (i) Plaintiff properly classified as an
   Los Angeles, CA 90035




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                                    14   employee or independent contractor; and (ii) even if Plaintiff is an employee, does
                                    15   Wage Order 12 bar Plaintiff’s remaining claims. [Dkt. 47 at 6:26-7:3]
                                    16         Conversely, Plaintiff argued that her “extensive” discovery should not be
                                    17   phased. However, if phased discovery is ordered, Plaintiff wanted class
                                    18   certification discovery prior to merits discovery.
                                    19         Here, Plaintiff’s “extensive” proposed class discovery includes:
                                    20         (i)    “Defendants’ time and payroll records to support the filing of
                                    21         Plaintiff’s Motion for Class Certification (“MCC”)”; [Dkt. 47 at 6:4-5]
                                    22         (ii) “It is crucial for Plaintiff to be able to review class members’
                                    23
                                               personnel files to support the MCC”; [Dkt. 47 at 6:15-16]

                                    24         (iii) “It is imperative that Plaintiff contact putative class members and
                                               obtain declaration testimony to support the allegations in Plaintiff’s
                                    25
                                               operative pleading” [Dkt. 47 at 6:18-19]
                                    26
                                    27
                                         5
                                          “Except as provided in Sections 1, 2, 4, 10, and 20, the provisions of this order
                                    28
                                         shall not apply to professional actors.” Cal. Code Regs. tit. 8, § 11120.
                                                                           4
                                                 DEFENDANTS’ NOTICE OF MOTION AND MOTION TO BIFURCATE
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                                     1         (iv) “Plaintiff believes the information can be provided promptly using, at
                                     2         most, a protective order if Defendant prefer. Plaintiff is also amenable to
                                               utilizing a Belaire-West opt-out notice procedure, but this would
                                     3         significantly extend the amount of time necessary to prepare for the filing of
                                     4         a MCC.”6 [Dkt. 47 at 6:26-7:3]
                                     5         (v) “It will likely take an expert weeks, at minimum, to review all the
                                     6         Information [from the more than 1,000 films produced by VXN]”” [Dkt. 47
                                               at 7:9-10]
                                     7
                                               On February 16, 2024, the Court granted Defendants’ Motion to Dismiss
                                     8
                                         Plaintiff’s FAC without leave to amend as to: (i) Plaintiff’s joint employer theory;
                                     9
                                         and (ii) failure to timely pay wages. The Court also granted the Motion with leave
                                    10
                                         to amend as to Plaintiff’s: (i) alter ego theory against the Non-VXN Defendants;
                                    11
                                         and claims for (ii) minimum wage; (ii) inaccurate wage statements; and (iii)
                                    12
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                                         indemnity.
   Los Angeles, CA 90035




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                                               On March 6, 2024, the Court ordered Defendants to file a Motion to
                                    14
                                         Bifurcate Discovery into two phases within 30 days of the Court’s order. [Dkt. 51]
                                    15
                                         On March 8, 2024, Plaintiff filed her Second Amended Complaint (“SAC”)
                                    16
                                         alleging class claims for seven (7) Labor Code violations against Defendants. [Dkt.
                                    17
                                         53] In the SAC, Plaintiff alleged that she worked as an adult film actress, and
                                    18
                                         intermittently performed in movies produced by Defendant VXN “[b]etween
                                    19
                                         November 2020 through approximately September of 2022.” [Dkt. 53, at 4:28–
                                    20
                                         5:1]. Based on Plaintiff’s alleged experiences as a “well-known adult film actress”
                                    21
                                         during this brief period [Dkt. 53, at 4:20], Plaintiff seeks to represent a class
                                    22
                                         consisting of every non-exempt employee in California for the last four years for
                                    23
                                         three separate entities. [Dkt. 53, at 17:8-13]. On March 22, 2024, Defendants
                                    24
                                         moved to dismiss the SAC in part. [Dkt. 56]
                                    25

                                    26   6
                                          To avoid any prejudice to Plaintiff, Defendants have offered to stipulate to
                                    27   Plaintiff having up to year for Phase II discovery and their proposed MMC after
                                         completion of Phase I and the early dispositive motions. Plaintiff rejected that
                                    28
                                         offer. [Kane Decl., at ¶ 2]
                                                                           5
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                                     1         C.     Adult Performers Face Stigma And Danger From Disclosure Of
                                     2                Their True Names And Contact Information.

                                     3         Unlike typical wage and hour putative class members, the stigma and danger

                                     4   accompanying the disclosure of the adult performers’ true identities and contact

                                     5   information necessitates heightened privacy protection. [Kayden Kross Decl., at

                                     6   4-31] As an adult performer, Kayden Kross (“Kross”) has:

                                     7         seen leaks of my and other performers’ personal information result in
                                               everything from relapse to suicide to homelessness, joblessness, loss of
                                     8
                                               custody, divorce, stalking, retaliation, mental health decline, stress induced
                                     9         decline in physical health, ostracism, loss of bank accounts, being forced to
                                               move, and loss of family relationships.
                                    10
                                         [Kayden Kross Decl., at 7]
                                    11
                                               Further, Kross explains that “being outed as an adult performer has
                                    12
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                                         consequences to people beyond just the adult performers”:
   Los Angeles, CA 90035




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                                    14         Once you are outed, people start outing any family that they can connect to
                                               you. My mom was forced to leave her job because of that. A guy dated my
                                    15         mom until she found his office drawer full of my adult performances. People
                                    16         approach my mom now asking her to introduce us. People who never made
                                               the choice to risk harassment and discrimination are hurt.
                                    17
                                         [Kayden Kross Decl., at 7]
                                    18
                                               As an adult performer, Kross has dealt with stalkers and people trying to run
                                    19
                                         her over for refusing to get in car with them. [Kayden Kross Decl., at 17]
                                    20
                                         Similarly, “adult performers regularly receive death threats laced with racism for
                                    21
                                         performing in interracial adult entertainment or from stalkers that believe in their
                                    22
                                         delusions that the male performer is stealing female performers who ‘belong’ to
                                    23
                                         them.” [Kayden Kross Decl., at 19]
                                    24
                                               Kross, and other adult performers, live in fear “that their jobs, kids, and
                                    25
                                         community do not find out and ostracize them, fire them, abandon them etc. Many,
                                    26
                                         like me, have had to move and start over when they’ve been outed.” [Kayden
                                    27
                                         Kross Decl., at 28] Given those risks, Kross asks that “the Court to please only
                                    28

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                                                 DEFENDANTS’ NOTICE OF MOTION AND MOTION TO BIFURCATE
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                                     1   require the disclosure of the [putative class member’s] true names and contact
                                     2   information as a last resort and only with the strongest safeguards available, if
                                     3   absolutely necessary.” [Kayden Kross Decl., at ¶¶ 6, 31] Bifurcation will not only
                                     4   streamline and focus discovery on the dispositive issues but may very well
                                     5   eliminate the privacy and safety maelstrom of identifying a vulnerable class of
                                     6   people.
                                     7   III.   THE COURT SHOULD GRANT DEFENDANTS’ MOTION TO
                                                BIFURCATE.
                                     8

                                     9          A.    Federal Law and Policy Favor Sequencing Discovery To Allow
                                                      Early And Inexpensive Determination Of Dispositive Issues.
                                    10
                                                “Bifurcation is particularly appropriate when resolution of a single claim or
                                    11
                                         issue could be dispositive of the entire case.” Drennan v. Md. Cas. Co., 366 F.
                                    12
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                                         Supp. 2d 1002, 1007 (D. Nev. 2005); Wixen Music Publ'g, Inc. v. Triller, Inc., No.
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                                         220CV10515JVSAFMX, 2021 WL 4816627, at *1 (C.D. Cal. Aug. 11, 2021)
                                    14
                                         (citing Drennan). Bifurcation presents “an efficient solution that may prevent the
                                    15
                                         parties from engaging in extremely broad and potentially wasteful discovery.”
                                    16
                                         Giglio v. Monsanto Co., 2016 WL 4098285, at *1 (S.D. Cal. Aug. 2, 2016). See
                                    17
                                         also, Ellingson Timber Co. v. Great Northern Railway Co., 424 F.2d 497, 499 (9th
                                    18
                                         Cir. 1970) (“One of the purposes of Rule 42(b) is to permit deferral of costly and
                                    19
                                         possibly unnecessary discovery proceedings pending resolution of potentially
                                    20
                                         dispositive preliminary issues.”). Thus, the Court has “broad discretion to bifurcate
                                    21
                                         proceedings ‘[f]or convenience or to avoid prejudice, or to expedite and
                                    22
                                         economize.’” Moreno v. NBC Universal Media, LLC, No. CV131038BROVBKX,
                                    23
                                         2013 WL 12123988, at *2 (C.D. Cal. Sept. 30, 2013) (citing Fed. R. Civ. P. 42(b)).
                                    24
                                                Federal courts routinely order bifurcation where, as here, it could potentially
                                    25
                                         resolve or limit the issues asserted in the underlying case. For example, in a class
                                    26
                                         action involving similar Labor Code claims, the court ordered a stay of class
                                    27
                                         discovery and bifurcation of discovery issues “concerning Plaintiff as an individual
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                                     1   from issues concerning the class.” Deleon v. Time Warner Cable LLC, No. CV 09-
                                     2   2438 AG (RNBX), 2009 WL 10674767 at *2, (C.D. Cal. Nov. 2, 2009) Id. at *2.
                                     3         The Deleon court reasoned that “[w]ith bifurcation, if Plaintiff’s claims fail
                                     4   completely, resources that would’ve been expended on class discovery will be
                                     5   saved,” and that “[i]f Plaintiff’s claims fail in part, the scope of discovery will be
                                     6   narrowed and resources will be saved.” Id. See also Reed v. AutoNation, Inc., 2017
                                     7   WL 6940519, at *8 (C.D. Cal. Apr. 20, 2017) (“[I]t is judicially economical to
                                     8   decide standing as a threshold issue.”); Vivid Techs., Inc. v. American Science &
                                     9   Eng. Inc., 200 F.3d 795, 804 (Fed. Cir. 1999) (“When a particular issue may be
                                    10   dispositive, the court may stay discovery concerning other issues until the critical
                                    11   issue is resolved.”).
                                    12         Here, bifurcation would serve the interests of efficiency and judicial
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                                         economy by avoiding a needless waste of resources on broader discovery issues,
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                                    14   including class discovery and the thorny issues of protecting the privacy of putative
                                    15   class members, including adult performers (and their families). As a result, the
                                    16   Court should exercise its broad discretion to limit Phase I Discovery to two
                                    17   threshold dispositive issues before the onerous demands of class discovery are
                                    18   imposed on the Court: (i) whether Plaintiff was Defendants’ employee; and (ii)
                                    19   whether Wage Order 12’s professional actor exemption applies.
                                    20         B.     Bifurcation of Discovery Limited To Plaintiff’s Standing and the
                                    21                Filing of Early Dispositive Motions Is The Best Case
                                                      Management Approach.
                                    22
                                               In the class action context, “standing is the threshold issue” because ““[i]f
                                    23
                                         the individual plaintiff lacks standing, the court need never reach the class action
                                    24
                                         issue.”” Lierboe v. State Farm Mut. Auto Ins. Co., 350 F.3d 1018, 1022 (9th Cir.
                                    25
                                         2003) (quoting Herbert B. Newberg, Newberg on Class Actions § 3:19, at 400 (4th
                                    26
                                         ed. 2002)). Since Plaintiff must be an employee to bring her wage and hour claims,
                                    27
                                         standing is a threshold issue justifying bifurcation and early dispositive motions.
                                    28

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                                     1   See Maddock v. KB Homes, Inc., 631 F. Supp. 2d. 1226, 1238 (C.D. Cal. 2007)
                                     2   (“only an ‘employee’ may bring an action to recover unpaid overtime
                                     3   compensation”); Martinez v. Combs, 49 Cal. 4th 35, 109 (2010); See also Emp'rs-
                                     4   Teamsters Local Nos. 175 & 505 Pension Tr. Fund v. Anchor Capital Advisors,
                                     5   498 F.3d 920, 923 (9th Cir. 2007) (“Standing is a threshold issue of any federal
                                     6   action....”); Perry v. VHS San Antonio Partners, L.L.C., 990 F3d 918, 924 (5th Cir.
                                     7   2021) (bifurcating discovery to first address threshold issue of whether plaintiff
                                     8   was an employee, staying discovery on other issues). Similarly, even assuming
                                     9   Plaintiff was an employee, Wage Order 12 exempts employers of professional
                                    10   actors from overtime, meal periods, rest periods, and wage statement requirements.
                                    11         While bifurcation minimizes the risk of prejudice and maximizes efficiency,
                                    12   if Plaintiff is allowed to pursue class discovery now and then loses all or even part
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                                         of her claims, the wasted resources will include: (i) Court time supervising
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                                    14   contested and avoidable discovery issues; (ii) the parties’ fees and costs associated
                                    15   with unnecessarily litigating class issues; (iii) inconvenienced witnesses; and (iv)
                                    16   the prematurely jeopardized privacy and safety of putative class members (and their
                                    17   families). See Young v. Mophie, Inc., 2020 WL 1000578, at *3 (C.D. Cal. Jan. 7,
                                    18   2020) (Ordering bifurcation because “[p]roceeding immediately on all classwide
                                    19   issues would subject the parties to highly extensive discovery that may ultimately
                                    20   be unnecessary if [Defendant] prevails on dispositive motions regarding Plaintiff’s
                                    21   individual claims.”) (Emphasis added). Here, Plaintiff freely admits that her class
                                    22   claims will require “extensive discovery”. [Dkt. 34, at 15:22-23; 16:15-17]
                                    23         Under bifurcation, there is no risk of harm to Plaintiff’s interests. If
                                    24   Plaintiff’s claims survive summary judgment, class discovery can begin
                                    25   immediately without Plaintiff suffering any prejudice. Thus, bifurcation will likely
                                    26
                                    27

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                                                 DEFENDANTS’ NOTICE OF MOTION AND MOTION TO BIFURCATE
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                                     1   avoid costly and unnecessary discovery proceedings as well as thorny third-party
                                     2   privacy and safety issues, if Defendants prevail on the dispositive threshold issues.7
                                     3         C.     The Stigma And Danger Associated With Revealing Adult
                                     4                Performers’ True Identities And Contact Information Justify
                                                      Bifurcation
                                     5
                                               The putative class members actively conceal their true identities and contact
                                     6
                                         information due to the risk of dangerous stalkers and harassment of themselves and
                                     7
                                         their families. See Pioneer Electronics (USA), Inc. v. Superior Court, 40 Cal.th
                                     8
                                         360, 373-74 (2007) (revelation of personal secrets, intimate activities, or similar
                                     9
                                         private information that threatens undue intrusion into one's personal life entitle
                                    10
                                         putative class members to additional privacy protection).
                                    11

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                                    15
                                         7 Notably, courts often find wage and hour cases such as this one appropriate for
                                         bifurcation, as these cases often present dispositive threshold issues that permit
                                    16   resolution prior to class discovery. See, e.g., Stafford v. Dollar Tree Stores, Inc.,
                                    17   2014 WL 6633396, at *5 (E.D. Cal. Nov. 21, 2014) (bifurcating PAGA action and
                                         limiting discovery to plaintiff’s individual Labor Code claims); Harris v. Sims
                                    18   Registry, 2001 WL 78448, at *1 (N.D. Ill. Jan. 29, 2001) (bifurcating FLSA
                                    19   collective action lawsuit, limiting initial discovery to issue of whether named
                                         plaintiffs fell within an exemption to FLSA); Johnson v. Lexington-Fayette Urban
                                    20   County Gov’t, 198 F.3d 246, at *1 (6th Cir. 1999) (limiting discovery to threshold
                                    21   question of whether named plaintiffs were exempt salaried employees under
                                         FLSA); Davis v. City of Hollywood, 120 F.3d 1178, 1180 (11th Cir. 1997)
                                    22   (bifurcating FLSA collective action to have parties first address whether employees
                                    23   were paid on salary basis as required for application of certain overtime
                                         exemptions); Schwind v. EW & Assoc., Inc., 357 F. Supp.2d 691, 707 (S.D.N.Y.
                                    24   2005) (limiting initial discovery to plaintiff’s employment status and applicability
                                    25   of FLSA exemptions, staying discovery of all other issues); Powell v. Collier
                                         Const., 2005 WL 2429245, at *2 (W.D. La., Sep. 30, 2005) (bifurcating FLSA
                                    26
                                         litigation to resolve threshold question of whether defendant employed plaintiffs
                                    27   within the meaning of FLSA or Louisiana state law); Maldonado v. Lucca, 629 F.
                                         Supp. 483, 485 (D.N.J. 1986) (bifurcating issue of whether defendants were
                                    28
                                         plaintiffs’ employers within the meaning of FLSA and state statutes).
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                                                 DEFENDANTS’ NOTICE OF MOTION AND MOTION TO BIFURCATE
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                                     1         Unlike typical wage and hour putative class members, the stigma and danger
                                     2   accompanying the disclosure of the adult performers’ true identities and contact
                                     3   information necessities heightened privacy protection:
                                     4         even beyond these somewhat standard privacy concerns, Defendants
                                     5         correctly note that this case also implicates unique, heightened privacy
                                               interests for those individuals whom Plaintiffs seek to solicit as putative class
                                     6         members:
                                     7
                                                     Plaintiffs' desired actions pose a clear and present danger of
                                     8               jeopardizing many aspects of [the potential class members'] lives by
                                                     disrupting relationships with boyfriends, spouses, parents, family,
                                     9
                                                     friends, other employers, universities, and the clubs where they work,
                                    10               whom they trusted to have their backs by protecting their privacy and
                                                     autonomy as enshrined in their contracts and federal and state law.
                                    11
                                                     And, it is not trivial to point out the real personal safety concerns
                                    12               that women have in the digital age with hackers, harassers,
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                                                     stalkers and the like, seeking to exploit weaknesses. Plaintiffs'
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                                                     proposed Court-ordered course of action increases risks of harm
                                    14               from all of these.
                                    15
                                                                                    * * *
                                    16               It is easy to understand the many reasons dancers seek to avoid having
                                                     their private information compromised as Plaintiffs wish to do by
                                    17
                                                     using their contractually and statutorily-protected personal
                                    18               information to contact and solicit them, without their prior consent,
                                                     and seeking to add them to a public federal class action lawsuit. It
                                    19
                                                     increases the risk of disruption of their lives from the irrational
                                    20               stigma that still almost universally follows any unwanted
                                    21
                                                     disclosure to husbands, siblings, parents, friends, vast social
                                                     media communities, other employers, future employers, colleges
                                    22               and universities, and would-be [harassers] and stalkers, to name
                                    23
                                                     just a few.

                                    24
                                         Hogan v. Cleveland Ave. Restaurant, Inc., 2023 WL 2568299, at *6 (S.D. Ohio,
                                    25
                                         Eastern Division March 20, 2023) (denying Plaintiff access to dancer’s identities
                                    26
                                         and contact information) (bold in original), reversed in part on other grounds,
                                    27

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                                     1   Hogan v. Cleveland Ave. Restaurant, Inc., 2023 WL 4925296, at *4 (S.D. Ohio,
                                     2   Eastern Division August 2, 2023).
                                     3         The Ninth Circuit “do[es] not take lightly threats to life” or “emotional
                                     4   turmoil[.]” Cf. Garcia v. Google, Inc., 786 F.3d 733, 745 (9th Cir. 2015). It is
                                     5   “within the district court’s discretion to deny [Plaintiff]’s attempt to obtain
                                     6   production . . . of the names [of potential class members] . . . in order to solicit
                                     7   support for his efforts to certify the class,” see Hatch v. Reliance Ins. Co., 758 F.2d
                                     8   409, 416 (9th Cir. 1985) (citation omitted), and it is certainly within its discretion
                                     9   to sequence discovery in such a way as to minimize harms to non-parties. See also
                                    10   United States v. Kwok Cheung Chow, 772 F. App’x 429, 431 (9th Cir. 2019)
                                    11   (affirming district court decision to withhold identities of FBI agents where, inter
                                    12   alia, “disclosure of the agents’ identities would threaten their safety”). Afterall,
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                                         “[b]oth the class representative and the courts have a duty to protect the interests
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                                    14   of absent class members.” Cf. Silber v. Mabon, 957 F.2d 697, 701 (9th Cir. 1992).
                                    15         Here, as set forth in Kross’ declaration, even sending a letter in a plain
                                    16   envelope asking if each putative class member objects to their information shared
                                    17   poses a danger to the adult performer and their families. Kross’ actual life
                                    18   experience demonstrates there is a serious, not just hypothetical risk, of a neighbor
                                    19   or delusional stalker could find out who a class member is and try to destroy his or
                                    20   her life. A letter could also go to a family member who may never speak to the
                                    21   class member after learning his or her profession or a disgruntled employee could
                                    22   be tempted to sell the information on the black market to wealthy stalkers. Given
                                    23   the putative class members’ heightened privacy interests, bifurcation avoids the
                                    24   necessity of addressing serious third-party privacy issues, unless Plaintiff prevails
                                    25   on the early dispositive motions.
                                    26
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                                     1         D.       Defendants Proposed Phase I Discovery And Early Dispositive
                                     2                  Motion Schedule.

                                     3         Since phased discovery and early dispositive motions will help the parties

                                     4   “secure the just, speedy and inexpensive determination,” bifurcation is the best-

                                     5   case management approach. Testing the viability of Plaintiff’s individual claims.

                                     6   can be accomplished quickly. Specifically, Defendants propose the following

                                     7   schedule:

                                     8               • Phase I Discovery limited to issues concerning Plaintiff’s individual

                                     9                  claims to be conducted for 120 days from entry of an order, if any,

                                    10                  granting Defendants’ Motion to Bifurcate.

                                    11               • Parties’ motions for summary judgment, if any, due within 60 days of

                                    12                  the close of Phase I Discovery.
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                                                     • Phase II Discovery concerning class-wide issues to begin 14 days after
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                                    14                  the Court’s decision on dispositive motions.
                                         IV.   CONCLUSION.
                                    15

                                    16         Convenience, expediency, and judicial economy all strongly weigh in favor

                                    17   of bifurcation and early resolution of the threshold issues arising from Plaintiff’s

                                    18   individual claims. Plaintiff’s standing and her Wage Order exempt status are likely

                                    19   to be dispositive. Resolution of these issues may resolve all litigation, or at

                                    20   minimum substantially narrow the remaining class-wide issues, while preserving

                                    21   scarce judicial resources. Finally, bifurcation avoids prematurely jeopardizing the

                                    22   adult performers (and their families) privacy and safety.

                                    23         Accordingly, Defendants respectfully request that the Court grant

                                    24   Defendants’ Motion to Bifurcate in accordance with Defendant’s proposed

                                    25   schedule above. All other discovery and actions in this case should be stayed

                                    26   pending the Court’s decision on dispositive motions in connection with Phase I

                                    27   Discovery.

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                                     1
                                         Dated: April 5, 2024                  Respectfully submitted,
                                     2
                                                                               KANE LAW FIRM
                                     3
                                                                          By: /s/ Brad S. Kane
                                     4                                        Brad Kane
                                     5                                        Eric Clopper
                                                                              Trey Brown
                                     6                                        Attorneys for Defendants
                                     7                                        VXN Group LLC; Strike 3 Holdings,
                                                                              LLC; General Media Systems, LLC;
                                     8                                        and Mike Miller
                                     9

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                                     1

                                     2                            COMPLIANCE STATMENT
                                     3
                                                The undersigned, counsel of record for Defendants, certifies Defendants’
                                     4   counsel fully complied with L.R. 7-3 prior to the filing of this Motion in that the
                                         parties hereto thoroughly discussed the substance potential resolution of this
                                     5
                                         Motion by videoconference.
                                     6

                                     7    Dated: April 5, 2024                By:   /s/ Brad S. Kane
                                                                                    Brad Kane
                                     8

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                                    12                            CERTIFICATE OF SERVICE
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                                                I, Brad S. Kane, hereby certify that this document has been filed on April 5,
                                    14
                                         2023, through the ECF system and will be sent electronically to the registered
                                    15   participants as identified on the Notice of Electronic Filing.
                                    16
                                          Dated: April 5, 2024                By:   /s/ Brad S. Kane
                                    17
                                                                                    Brad Kane
                                    18

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